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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
       vs.                                        )          CRIMINAL NO. 15-3762-JCH
                                                  )                       17-370-JCH
NAEL ALI,                                         )
                                                  )
               Defendant.                         )

             MOTION TO DISMISS THE INDICTMENTS AS TO DEFENDANT
                        NAEL ALI WITHOUT PREJUDICE

       Pursuant to Rule 48 of the Federal Rules of Criminal Procedure, the United States

respectfully moves the Court to dismiss the Indictments in these cases, without prejudice, against

only defendant Nael Ali, and in support states as follows:

       On October 18, 2017, defendant Nael Ali pled guilty to a two-count Information in

15-CR-3762-JCH, charging violations of 18 U.S.C. § 1159, contrary to the Indian Arts and Crafts

Act.

       Pursuant to the plea agreement, the United States has agreed to dismiss the Indictments

filed against defendant Nael Ali upon sentencing, and sentencing having taken place, the United

States requests that the Court dismiss the Indictments in cause numbers 15-CR-3762-JCH and

17-CR-370-JCH, without prejudice, as against only defendant Nael Ali.

                                                      Respectfully submitted,

                                                      JOHN C. ANDERSON
                                                      United States Attorney

                                                      _Filed electronically September 27, 2018
                                                      KRISTOPHER N. HOUGHTON
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I HEREBY CERTIFY that I filed the
foregoing through the CM/ECF system, which
provided notice and a copy to opposing counsel
of record.
/s/
KRISTOPHER N. HOUGHTON
Assistant United States Attorney
